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          EXHIBIT 10
                     Case 1:17-cv-02989-AT Document 1793-10 Filed 01/22/24 Page 2 of 2
   Message
   From:            Barnes, Michael [/O=SOS/OU=EXCHANGE ADMINISTRATIVE GROUP
                    (FYDI BOHF23SPDLT)/CN=RECIPI ENTS/CN=D4F658ED134C4A6D91A27F28A0572934-BARN ES, MICHAEL]
   Sent:            7/9/2020 5:54:46 PM
  To:               clinchelections@clinchcountyga.gov
   Subject:         Re: Data Seals



   No, just please put your own seal on the equipment and document the seal number
   attached.

   Sent from my iPhone
   Michael Barnes
   470-316-2884



   On Jul 9, 2020, at 1:52 PM, 11 clinchelections@clinchcountyga.gov"
   <clinchelections@clinchcountyga.gov> wrote:



              EXTERNAL EMAIL: Do not click any links or open any attachments unless you trust the sender and know
              the content is safe.

              <imageOO 1.gif
              Michael,
              My tech is doing L&A testing and disco veredthat2 of our BMDs Election Data Seals
              were missing, (poll workers). Do we need to send these back to be resealed ?If so my
              regional tech has offered to take them back to Atlanta and drop them off on his way
              back home. Please let me know what we need to do.

              Laina Il allarice
              Clinch County Elections Supervisor
              25 Court Sq. Suite A
              Homerville Ga. 31634
              912-487-3656 Office
              912-487-5162 Fax
              c1inche1ections@c1inchcountya.ov




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                                              Curling Plaintiffs' Exhibit 104, page 1 of 1
